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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK




 IRENE HECHT, on behalf of herself and all
 others similarly situated,

                             Plaintiff,
                                                      Civil Case Number: 1:20-cv-05727-LJL
                 -v-

 COSMEDICAL TECHNOLOGIES, LLC,


                             Defendant.


                                      DISMISSAL ORDER

IT IS HEREBY ORDERED:

       THAT pursuant to the parties’ October 16, 2020 Stipulation of Dismissal, all

claims asserted against Defendant in Civil Action No. 1:20-cv-05727-LJL, are dismissed with

prejudice; and

       THAT all parties shall bear their own attorneys’ fees and costs incurred in this action.


SO ORDERED THIS _ 10th           day of October, 2020.




                                                                  ___________
                                             HONORABLE LEWIS J. LIMAN
                                             UNITED STATES DISTRICT JUDGE
